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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                    :
                                            :
              v.                            :       Case No. 21-cr-144-1 (RBW)
                                            :
MARK AUNGST,                                :
                                            :
                      Defendant.            :

                       GOVERNMENT'S SUGGESTION OF DEATH
                   AND REQUEST FOR ABATEMENT OF PROSECUTION

       The United States, by and through its attorney, the United States Attorney for the District

of Columbia, respectfully seeks abatement of prosecution in this matter. As grounds for this

request, the United States states that local law enforcement received a welfare check request

concerning Mark Aungst on July 20, 2022. Officers went to the residence of Mr. Aungst that

same day and found him deceased. The FBI agent in this case was on scene and notified the

undersigned as the events were unfolding on July 20, 2022.

       A defendant's death is a basis for abatement of all prosecution proceedings from their

inception. See Durham v. United States, 401 U.S. 481, 483 (1971) (citations omitted).
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       WHEREFORE, the United States respectfully requests that the prosecution of Mr.

Aungst be abated.

                                          Respectfully submitted,

                                          MATTHEW GRAVES
                                          United States Attorney

                                   By:    /s/ Mona Furst
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